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                   EXHIBIT A
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                                                                                                                                                                                             CITY COUNCIL DISTRICT 9




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                     CITY COUNCIL DISTRICT 9
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               BUCKMAN BG S                                                                  July 27, 2022
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